UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:                                                              Case No.: 2−20−20230−PRW
                                                                    Chapter: 11
         Rochester Drug Cooperative, Inc.

                           Debtor(s)

         Advisory Trust Group, LLC                                  A.P. No.: 2−22−02044−PRW
         as trustee of the RDC Liquidating Trust
                            Plaintiff(s)
              v.

         CHATTEM, INC.
                      Defendant(s)


                               ORDER SETTING RULE 16 CONFERENCE
     IT IS ORDERED, that pursuant to 11 U.S.C. § 105(d)(1) and Rule 16 FRCP/Rule 7016 FRBP, each party is
directed to appear in person through its attorney at a scheduling and settlement conference ("Rule 16
Conference") regarding this Adversary Proceeding. The Rule 16 Conference will be conducted by the Honorable
Paul R. Warren, U.S.B.J., at the U.S. Bankruptcy Court, 100 State Street, Rochester, NY 14614 on:
                                              August 23, 2022 at 11:30 AM.

      THE FAILURE OF A PARTY OR ITS ATTORNEY TO APPEAR, OR BEING SUBSTANTIALLY
UNPREPARED TO PARTICIPATE, OR NOT PARTICIPATING IN GOOD FAITH, OR THE FAILURE
TO OBEY THIS ORDER, MAY RESULT IN THE ISSUANCE OF ORDERS AUTHORIZED BY RULE
16(f), INCLUDING THOSE SANCTIONS AUTHORIZED BY RULE 37(b)(2)(A)(ii)−(vii) FRCP, SUCH AS
AN AWARD OF REASONABLE EXPENSES−−INCLUDING ATTORNEY'S FEES−−AGAINST, OR
STRIKING PLEADINGS OF, THE PARTY THAT FAILS TO OBEY THIS ORDER.

    IT IS FURTHER ORDERED, that the parties are not permitted to seek formal discovery from any source
before the parties have conferred as required by Rule 26(f) FRCP.

    IT IS FURTHER ORDERED, that the parties are to confer in accordance with Rule 26(f) FRCP at least 21
days in advance of the Rule 16 Conference. The parties must prepare a Discovery Plan, pursuant to Rule 26(f)(3)
FRCP. The Plaintiff must file the Discovery Plan within 14 days following the parties' discovery conference. (A
sample Discovery Plan is attached for convenience.)

     IT IS FURTHER ORDERED, that the parties appear at the Rule 16 Conference with a realistic assessment of
their case. Counsel must attend with appropriate authority to enter into stipulations, make admissions, and be
prepared to candidly discuss:


         1) the legal issues, claims, and defenses;
         2) issues concerning jurisdiction of the Court;
         3) discovery deemed necessary, the schedule for discovery, a discovery cut−off date and trial
            date, as detailed in the parties' Discovery Plan;

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       4) facts not in dispute, supported by evidence that would be admissible at trial, which can be
          stipulated as undisputed−−with a proposed date for the submission of a written stipulation;
       5) settlement of the litigation−−the Court is prepared to actively assist in settlement discussions,
          unless a party objects to the Court's participation;
       6) case management controls to eliminate wasteful discovery activities, control litigation costs,
          and expedite resolution of the action.

     IT IS FURTHER ORDERED that, after issue is joined, no party shall serve or file a motion for summary
judgment −−or similar dispositive motion−− prior to completion of the Rule 16 Conference. In order to avoid the
burden on the Court and to minimize litigation costs to the parties, motions for summary judgment under Rule 56
FRCP/Rule 7056 FRBP, and any opposition to such motions, must comply with the following requirements, in
addition to those specified in Rule 56 FRCP/Rule 7056 FRBP:

       1) Movant's Statement − Upon any motion for summary judgment pursuant to Rule 56 FRCP,
          there must be annexed to the motion a separate, short, and concise statement, in numbered
          paragraphs, of the material facts as to which the moving party contends there is no genuine
          issue to be tried. Failure to submit the statement shall constitute grounds for denial of the
          motion.
       2) Opposing Statement − Papers opposing a motion for summary judgment shall include a
          correspondingly numbered paragraph responding to each numbered paragraph in the
          statement of the moving party, and if necessary, additional paragraphs containing a separate,
          short, and concise statement of additional material facts as to which it is contended that there
          is a genuine issue to be tried.
       3) Each numbered paragraph in the statement of material facts required to be served by the
          moving party shall be deemed admitted for purposes of the motion unless specifically
          controverted by a correspondingly numbered paragraph in the statement required to be served
          by the opposing party.
       4) Each statement by the movant or opponent pursuant to subdivisions (1) or (2) of this Order,
          including each statement controverting any statement of material fact by a movant or
          opponent, must be followed by citation to evidence in a form that would be admissible, if
          offered at trial.
       5) Parties are to be particularly mindful of Rule 56(c)(4) FRCP.


     IT IS FURTHER ORDERED, that adjournment of the Rule 16 Conference will not be granted unless cause is
demonstrated. In such circumstances, the consent of all parties and the approval of the Court is required. The party
seeking an adjournment must contact the Courtroom Deputy [585−613−4214] as soon as the need for an
adjournment of the Rule 16 Conference becomes necessary.

     DATED: June 15, 2022                                       __________________/s/__________________
            Rochester, New York                                 HON. PAUL R. WARREN
                                                                United States Bankruptcy Judge

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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:                                                            Case No.: 2−20−20230−PRW
         Rochester Drug Cooperative, Inc.                         Chapter: 11

                           Debtor(s)

         Advisory Trust Group, LLC                                A.P. No.: 2−22−02044−PRW
                          Plaintiff(s)
             v.

         CHATTEM, INC.
                      Defendant(s)


           CERTIFICATION AND REPORT OF RULE 26(f) FRCP/RULE 7026 FRBP
                       CONFERENCE AND DISCOVERY PLAN
     Please fill in or check the appropriate blanks to certify completion of the Rule 7026 FRBP Attorney's
Conference and provide the required information to the Court. Where the parties were unable to agree on a specific
provision or item, please so note and attach any necessary explanation. Please note that this information will be
used as a guideline by the Judge, in conducting the Rule 16 FRCP Conference.

1. Certification Concerning Discovery Plan. (check one)
   ___ A discovery plan is needed or useful in this case and is outlined below.
   ___ The parties cannot agree on a discovery plan. The attached sets forth the parties' disagreements and
       reasons for each party's position. (attach an explanation to this document)

2. Certification of Conference. Pursuant to Rule 26(f) FRCP/Rule 7026 FRBP, a meeting was held on

   ___________________________(date) at _______________________________________________(place) or
   by telephone [ ] (check if applicable) and was conducted by the undersigned counsel for the designated
   parties in this adversary proceeding.

3. Pre−Discovery Disclosures. The information required            by Rule 26(a)(1) FRCP and Rule 7026 FRBP

   (check one) [     ] has been exchanged   [   ] will be exchanged by ______________________________(date).

4. Discovery Plan. The parties jointly propose to the Court the following discovery plan:

    a. All discovery will be completed by __________________________________________ (date).

          [If applicable] Discovery on ______________________________________________________

          ______________________________________________________________________________

          (identify any issues requiring early discovery) will be completed by __________________(date).

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    b. Discovery limits:
            i. Maximum of ______ depositions by plaintiff(s) and _____ by defendant(s) (ordinarily 3)

                   [or ______ by each plaintiff and ______ by each defendant].

            ii. Other: (Describe) _________________________________________________________

                   ________________________________________________________________________



5. Dispositive Motions. All potentially dispositive motions should be filed by _____________________ (date)
   [not to be brought before the Rule 16 Conference is completed by the Court].


6. Settlement:
             [ ] is likely.
               [     ] is unlikely.
               [     ] cannot be evaluated prior to ________________________________ (date).
               [     ] the parties consent to the Court's active participation in settlement discussions.


7. Trial. The case should be ready for trial by __________________________________ (date) and should take

    _____ day(s).

8. All parties [     ] consent/ [   ] do not consent to this Court entering final judgment.




________________________________________                           ___________________________________________
Plaintiff's Counsel            Date                                Defendant's Counsel              Date


________________________________________                           ___________________________________________
Plaintiff's Counsel            Date                                Defendant's Counsel              Date




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